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                                   Type image/jpeg
                                    Size 1121914
                                    URL https://interncache-nao.fbcdn.net/v/tl.15752-0/p
                                         600x600/136135747_873321560164609_45984
                                         61822118768150_n .jpg?ccb= 1-3&_nc_sid= 73a6
                                         a0&efg =eyJ lcmxnZW4iOijwa HBfdXJsZ2VuX2 Nsa
                                         WVudC9pbW9nZW46RFIJTWVkaWFVdGlscyJ9&_n
                                         c_ad=z-m&_nc_cid=0&_nc_ht=interncache-nao
                                         &tp=6&oh=20443956efdc0ee5970c5d882d374
                                         ca6&oe=60B86088




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